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                                 UNITED STATES DISTRICT COURT
                                         DISTRICT OF NEW JERSEY

   CHAMBERS OF                                                                    UNITED STATES DISTRICT COURT
HAROLD A. ACKERMAN                                                                    POST OFFICE BOX 999
   SENIOR JUDGE                                                                   NEWARK, NEW JERSEY 07101-0999




                                                   May 6, 2008


      RE:    United States v. Delle Donna, Criminal No. 07-784

      TO ALL COUNSEL OF RECORD

      Dear Counsel:

              On May 5, 2008, counsel for Defendants David Delle Donna and Anna Delle Donna
      jointly filed a Notice of Motion for a New Trial and a Judgment of Acquittal (Doc. No. 84). No
      brief was filed with the motion. Instead, the Notice of Motion states that “defendants shall rely
      upon a brief, which shall be filed pursuant to a schedule set by the Court.”

            Defendants shall file a brief in support of their joint motion no later than May 9, 2008.
      The Government’s response shall be filed no later than May 19, 2008.




                                                   SO ORDERED


                                                   /s/ Harold A. Ackerman
                                                   U.S.D.J.
